          Case 1:17-cv-02069-TSC Document 43 Filed 01/18/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



   JOHN DOE,

                           Petitioner,

                           v.                                         No. 17-cv-2069 (TSC)

   GEN. JAMES N. MATTIS,
    in his official capacity as SECRETARY OF
    DEFENSE,

                           Respondent.




                                             ORDER

       At the hearing on Petitioner’s Motion Regarding Continued Interim Relief (ECF No. 32),

counsel for the Petitioner requested that the court order the government to refrain from

transferring the Petitioner until the court rules on the motion. In response to the court’s inquiry

as to whether the government intends to transfer the Petitioner within the next forty-eight hours,

government counsel indicated that it had no basis to believe that a transfer would take place

within this timeframe. Counsel added, however, that it is the government’s position that it has

the authority to transfer Petitioner as soon as another country is ready. Given the government’s

position, and the court’s impending ruling on Petitioner’s Motion Regarding Continued Interim

Relief, the court hereby orders the government to refrain from transferring the detainee until

Tuesday, January 23, 2018.




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        Case 1:17-cv-02069-TSC Document 43 Filed 01/18/18 Page 2 of 2



Date: January 18, 2018


                                   Tanya S. Chutkan
                                   TANYA S. CHUTKAN
                                   United States District Judge    




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